





















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-64,261-01






EX PARTE ERNEST BENITEZ CHAVEZ, Applicant









ON APPLICATION FOR WRIT OF HABEAS CORPUS 

CAUSE NUMBER 91-12-4197-A IN THE 24TH

JUDICIAL DISTRICT COURT CALHOUN COUNTY 



		



	Per curiam.



O R D E R



	This is an application for a writ of habeas corpus that was transmitted to this Court
by the clerk of the trial court pursuant to the provisions of Article 11.07, Section 3, of the
Texas Code of Criminal Procedure.  Ex Parte Young, 418 S.W.2d 824, 826 (Tex. Crim. App.
1967).  Applicant pled guilty to delivery of a controlled substance and was sentenced to
confinement in prison for a period of sixteen years.  There was no direct appeal.

	In this application for a writ of habeas corpus, Applicant states that TDCJ is not giving
him proper time-credit on his sentence for time spent on release to mandatory supervision. 
The State has not provided a response, and trial court has not entered findings of fact and
conclusions of law.  It is this Court's opinion that additional information is needed before this
Court can render a decision, including an affidavit from Texas prison officials addressing
Applicant's claim.  

	Because this Court does not hear evidence, though, the trial court is the appropriate
forum.  Ex parte Rodriguez, 334 S.W.2d 294, 294 (Tex. Crim. App. 1960).  Thus, the trial
court shall resolve this issue as set out in Article 11.07, Section 3(d), of the Texas Code of
Criminal Procedure, in that it shall order the Classification and Records Division as well as
the Parole Division of the Texas Department of Criminal Justice to file affidavits, with
supporting documentation, addressing Applicant's ground for relief.  The trial court may also
order depositions, interrogatories, or hold a hearing.  In the appropriate case, the trial court
may also rely on its personal recollection.  

	If the trial court elects to hold a hearing, the court shall first decide whether Applicant
is indigent.  If the trial court finds that Applicant is indigent, and Applicant desires to be
represented by counsel, the trial court will then, pursuant to the provisions of Article 26.04
of the Texas Code of Criminal Procedure, appoint an attorney to represent him at the hearing. 
	Following the receipt of additional information, the trial court shall make findings of
fact and conclusions of law regarding whether Applicant has properly exhausted this claim
under Section 501.0081 of the Government Code and whether he has received the proper
credits on his sentence.  The trial court may also make any further findings of fact and
conclusions of law that it deems relevant and appropriate to the disposition of Applicant's
application for habeas corpus relief. 

 	Further, because this Court does not hear evidence, Ex parte Rodriguez, 334 S.W.2d
at 294, this application for a post-conviction writ of habeas corpus will be held in abeyance
pending the trial court's compliance with this order.  Resolution of the issues shall be
accomplished by the trial court within 90 days of the date of this order. (1)  A supplemental
transcript containing all affidavits and interrogatories or the transcription of the court
reporter's notes from any hearing or deposition along with the trial court's supplemental
findings of fact and conclusions of law, shall be returned to this Court within 120 days of the
date of this order. (2)




DELIVERED:   APRIL 12, 2006

DO NOT PUBLISH


	
1.      1  In the event any continuances are granted, copies of the order granting the
continuance shall be provided to this Court.
2.      2  Any extensions of this time period shall be obtained from this Court.


